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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

LUIS EDUARDO PEREZ PARRA,
LEONEL JOSE RIVAS GONZALEZ,
and ABRAHAN JOSUE BARRIOS MORALES,

Petitioners,
VS. No. 24-CV-912 KG/KRS
DORA CASTRO, et al.,

Respondents.

MEMORANDUM OPINION AND ORDER

This matter is before the Court on Respondents’ Notice of Removal, (Doc. 48), filed
February 11, 2025. Having considered the information provided in the Notice of Removal, the
Court hereby vacates the status conference set for March 3, 2025.

At this time, a status conference is set for March 3, 2025. (Doc. 41). In the interim,
Petitioners filed a Motion for Temporary Restraining Order Enjoining Petitioners’ Transfer from
this Judicial District on February 9, 2025. (Doc. 43). That same day, the Court issued a
Temporary Restraining Order enjoining the government from transferring only these three
Petitioners to the Naval Base in Guantanamo Bay. (Doc. 47). Since then, Respondents filed a
Notice of Removal, (Doc. 48), informing the Court that all three Petitioners were removed to
Venezuela, their home country, on February 10, 2025. Because Petitioners have now been
removed to their home country, it is no longer necessary to hold a status conference on March 3,
2025, nor is it necessary for parties to update the Court by February 24, 2025. Thus, the status
conference is hereby vacated.

IT ISSO ORDERED.

